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              IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF MARYLAND

MAYOR AND CITY COUNCIL OF
BALTIMORE, et al.,

Plaintiffs,
                                      Case No. 25-cv-458-MJM
vs.

CONSUMER FINANCIAL
PROTECTION BUREAU, et al.,

Defendants.




                PLAINTIFFS’ REPLY IN SUPPORT OF
              MOTION FOR A PRELIMINARY INJUNCTION
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           The administration has made no secret of its goal to dissolve the CFPB. The week

of February 10, they moved to carry out their plan, deciding to transfer away the CFPB’s

reserve funds imminently. Following their draw of $0 in new funding for all of fiscal year

2025, that transfer would leave the CFPB without funds necessary to carry out its critical

statutory responsibilities. In response to this suit, Defendants notably do not dispute that

they made a decision to transfer CFPB funds outside the agency’s control—only that they

have not yet identified a mechanism for sending funds to the Federal Reserve. But whether

sent to the Fed, to Treasury, or elsewhere, the gravamen of Plaintiffs’ claims is the same.

Defendants also cavil over the exact amount they intend to transfer away. But Defendants

have made clear their plan to shut down the CFPB, and even if, as they claim, they seek to

transfer “only” $220 million, they have not shown that would leave the CFPB with enough

money to carry out its required duties—rather, the opposite.

           The Court should enter a preliminary injunction to halt Defendants’ unilateral

defunding of the CFPB and prevent the irreparable harm that would result by ensuring the

CFPB retains sufficient funds to carry out its important statutory obligations. In the

alternative, if the Court has any doubt as to the exact nature of Defendants’ decision to

defund the agency, it should hold the present motion in abeyance, enter a TRO keeping in

place the parties’ agreed relief, and order limited expedited discovery on that question.

                                          BACKGROUND

           The administration has openly announced its goal to shutter the CFPB. President

Trump said it is “very important to get rid of” the agency, Compl. ¶ 38; Elon Musk tweeted

“Delete CFPB”1; and before the election Defendant Vought led an effort calling for the



1
    Elon Musk (@elonmusk), X (Nov. 27, 2024), https://tinyurl.com/29zsmdyy.


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immediate dissolution of the agency, Compl. ¶ 28. The administration’s assault on USAID

shows these are not idle threats. Over the course of days, DOGE affiliates seized that

agency’s data, contractors were laid off or furloughed, the agency’s website was taken

down and its name literally pried off the face of its headquarters building, staff were placed

on administrative leave, and the work of the agency effectively ceased. 2 Musk boasted that

he had spent a weekend “feeding USAID into the wood chipper.” 3

        On Friday, February 7, 2025, the administration came for the CFPB. DOGE

affiliates arrived at CFPB headquarters demanding access to data systems. The next day,

Defendant Vought told staff to “[s]tand down from performing any work task.” Compl.

¶ 30. Separately, he stated that “no additional funds are necessary to carry out the

authorities of the Bureau for Fiscal Year 2025” and that “no” reserve fund was “necessary

to fulfill the Bureau’s mandate.” Defs.’ Ex. 1B. Musk commented on the reserve: “CFPB

has $711M? That money should be returned to taxpayers.” 4 On Sunday, February 9, CFPB

employees were barred from the headquarters. Over the next few days, and just as at

USAID, probationary employees and contractors were terminated, key services were

discontinued, the CFPB homepage was replaced with a “404” message, and most staff were

ordered to stop work.5 Plaintiffs were forced to file this action and seek emergency relief

to stop Defendants’ unilateral defunding of the agency. Even following that filing and

another court’s entry of an order limiting Defendants’ ability to attack the CFPB, NTEU v.



2
  See, e.g., Karoun Demirjian et al., Trump Appointees to Put Almost All U.S.A.I.D. Workers on Leave,
N.Y. Times (Feb. 4, 2025), https://tinyurl.com/4uctckna.
3
  Elon Musk (@elonmusk), X (Feb. 3, 2025), https://tinyurl.com/424t3xnc.
4
  Elon Musk (@elonmusk), X (Feb. 10, 2025), https://tinyurl.com/5xvv3knd.
5
  See, e.g., Christopher Rugaber, Trump Administration Orders Consumer Protection Agency to Stop Work,
Closes Building, AP News (Feb. 9, 2025), https://tinyurl.com/46ebzj44; Evan Weinberger, CFPB Fires 70
Enforcement Lawyers, Other Probationary Employees, Bloomberg Law (Feb. 11, 2025),
https://tinyurl.com/562uy2yv.


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Vought, No. 25-cv-00381 (D.D.C. Feb. 14, 2025), ECF No. 19, Defendant Vought has

nevertheless continued dismantling the CFPB, removing the agency’s name from its

building, reportedly terminating its lease, and placing most staff on administrative leave. 6

        According to Defendants, the CFPB maintains funds in (1) a “Bureau Fund” and

(2) the civil penalty fund. Gueye Decl. ¶ 3. The latter contains money the CFPB has

collected as penalties in civil enforcement cases. Because money in the civil penalty fund

cannot be used to pay the ordinary operating expenses of the CFPB, see 12 U.S.C.

§ 5497(d)(2), it is irrelevant here. This case instead addresses the Bureau Fund, which

contains the money transferred by the Federal Reserve and is used to fund the CFPB’s

operations. Id. § 5497(c); Gueye Decl. ¶ 3. Per Defendants, it contains both obligated and

unobligated funds, including, as of February 8, roughly $412 million in unobligated

monies. Id. ¶¶ 4, 8, Ex. 1A. Of that $412 million, the CFPB has designated $220 million

as its “operating reserve” and the remaining roughly $192 million as its “operating

balance.” Id. Defendants aver that their projected expenses for the rest of fiscal year 2025

are $264,100,000—significantly more than the operating balance will cover. Id. ¶ 17.

                                           ARGUMENT

        Plaintiffs have shown their entitlement to a preliminary injunction. Defendants’

decision to defund the Bureau is final agency action subject to review under the

Administrative Procedure Act and is ripe for review. That decision is arbitrary, capricious,

and contrary to law. If left undisturbed, it will irreparably harm Plaintiffs.




6
 Stacy Cowley, A Consumer Bureau Is Told to Vacate Its Washington Office as Its Lease Is Canceled,
N.Y. Times (Feb. 21, 2025), https://tinyurl.com/2wc876tp; Abha Bhattarai, Layoffs Halted at CFPB for
Now as Judge Considers Union’s Lawsuit, Wash. Post. (Feb. 15, 2025), https://tinyurl.com/4dhapz6b.


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I.      Plaintiffs are likely to succeed on the merits.

        A.     A decision to defund an agency is final agency action.

        The decision of an agency head to defund his own agency is a final agency action

subject to review under the Administrative Procedure Act. And that is precisely what

Plaintiffs allege Defendant Vought has done: decided, fully and finally, to defund the CFPB

by transferring away its funds while also requesting transfers of $0 for the rest of fiscal

year 2025. See Compl. ¶¶ 41, 61, 64, Prayer for Relief. Defendants go to great lengths to

argue that Defendant Vought’s letter to the Fed is not final agency action. But as

Defendants concede, “Plaintiffs do not challenge that discrete document,” Opp’n at 6, and

“do not allege any injury due to the Vought Letter alone.” Opp’n at 9. 7 Defendant Vought’s

letter is evidence of the final agency action Plaintiffs challenge, not the action itself.

        A decision to defund an agency is a discrete decision, and Plaintiffs’ challenge to

that decision is not a “generalized complaint[].” See Cobell v. Kempthorne, 455 F.3d 301,

307 (D.C. Cir. 2006). The CFPB’s decision to defund itself—at this specific point in time—

is a far cry from “an on-going program or policy.” Id. (citation omitted). To the contrary,

it is a decision which will end any ongoing programs. Nor would review of this discrete

question subject ordinary CFPB funding decisions to “paralyzing” judicial review,

contra Opp’n at 10; at most, it would permit judicial review of future funding decisions

that would similarly zero out the CFPB’s operating funds.

        The defunding decision is likewise final: It “mark[s] the consummation of the

[Defendants’] decisionmaking process”—rather than being “merely tentative or


7
  To be clear, Plaintiffs take no position—and this Court need not either—on whether the Director could
lawfully request $0 in operating funds where the CFPB has adequate reserves to continue operations, or
whether the Director could lawfully transfer away the CFPB’s reserve funds so long as he continued to
request quarterly transfers sufficient to continue CFPB operations.


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interlocutory”—and is a decision “by which rights or obligations have been determined, or

from which legal consequences will flow.” U.S. Army Corps of Eng’rs v. Hawkes Co., Inc.,

578 U.S. 590, 597 (2016) (quoting Bennett v. Spear, 520 U.S. 154, 177–178 (1997)).

       Under 12 U.S.C. § 5497(a)(1), the head of the CFPB has the authority to determine

the CFPB’s operational budget needs and to request the money required to meet those

needs. Once he reaches a decision on the CFPB’s budget, the agency’s decisionmaking

process is inherently complete, because there are no other participants in the process. See

Nat’l Automatic Laundry and Cleaning Council v. Shultz, 443 F.2d 689, 702 (D.C. Cir.

1971) (agency head approval of an agency action is a “signpost[] of authoritative

determination, finality[,] and ripeness”).

       Further, a decision to defund the CFPB necessarily carries legal consequences,

including the inability of the CFPB to comply with statutory requirements. See Compl.

¶¶ 9–18 (listing some required functions). These obligations cannot be met without funds;

defunding the CFPB necessarily means the CFPB will fail to meet these obligations.

       Defendants imply (at 6) that the APA does not permit review of “abstract”

decisions. But there is nothing abstract about the decision to transfer away the CFPB’s

funds. And Defendants err in their reliance on Biden v. Texas, 597 U.S. 785 (2022), where

an agency issued a memorandum effectuating an agency decision. The Supreme Court

treated the memorandum, rather than the preceding decision, as the final agency action, but

did not conclude that memorialization was required. In contrast, in Venetian Casino Resort,

L.L.C. v EEOC, 530 F.3d 925, 931 (D.C. Cir. 2008), the D.C. Circuit treated an agency’s

adoption of a policy as a reviewable final agency action, even though the policy was also

subsequently memorialized in a memorandum. And here, where Plaintiffs successfully




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stepped in to prevent Defendants from effectuating their decision, it is unsurprising that the

decision has not been memorialized. If Defendants mean to suggest that the irregular form

of the final agency action—having not been reduced to writing (at least not publicly

available writing)—somehow excludes it from the APA’s ambit, that argument fares no

better. “Agency action . . . need not be in writing to be final and judicially reviewable,”

R.I.L-R v. Johnson, 80 F.Supp.3d 164, 184 (D.D.C. 2015), so long as it satisfies the Bennett

factors. Such agency action is reviewable even when it is ascertainable only by inference

from other evidence. See, e.g., id. at 176 (inferring existence of government policy from

consistent pattern of government conduct and treating policy as final agency action despite

government’s position that no such policy existed); Florida v. United States, 2022 WL

2431414, at *10 (N.D. Fla. May 4, 2022) (same).

       Related to their claims about final agency actions, Defendants dispute how they

will effectuate the defunding decision. They repeatedly emphasize, for example, (at 4, 6,

8) that they have not yet attempted to and do not yet know how to return the CFPB’s funds

to the Federal Reserve. But the ultimate destination of the intended transfer—whether to

the Fed, Treasury, or elsewhere—is irrelevant to the substance of Plaintiffs’ claims.

See, e.g., Compl. at 2 (“Defendants are poised to transfer away those operating reserves,

leaving the CFPB defunded”), ¶ 61 (describing “transferring the existing reserve” without

reference to destination). Defendants never deny they are preparing to transfer funds

outside CFPB control or that they have identified the means to do so—including by




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remitting funds to Treasury, which Defendants already have the ability to do. 8

        Similarly, Defendants dispute just how much money they intend to transfer. They

suggest—implausibly, particularly in light of the Vought Letter’s express reference to $711

million and Musk’s subsequent call to return “$711 million” to taxpayers—that the

“reserve fund” that Defendant Vought described as unnecessary to the CFPB’s operations

meant to refer only to the $220 million “operating reserve” (which is only a portion of the

CFPB’s unobligated funds). Opp’n at 3; see also Gueye Decl. ¶¶ 8, 13, Ex. 1A.

        But even if true, that would leave the CFPB with insufficient funds to meet even

Defendants’ own (unsupported) description of their projected expenses: Defendants say

that the CFPB’s present projected expenses are around $132 million for the third quarter,

and another $132 million for the fourth. Id. ¶ 17. While there are sufficient funds in the

“operating balance” to cover one quarter, Defendants have not shown those funds could

cover two—even on their own unsupported description of need. And notably, the

projections Defendants now offer are significantly less than the $188,786,000 in expenses

that the CFPB incurred on average in each quarter of fiscal year 2024 in order “to carry out

the authorities of the CFPB under federal financial consumer law.” CFPB, CFO Quarterly

Report: Q4 FY2024 1-2, https://tinyurl.com/ycx9utab. Even taking Defendants’ current

projections at face value, in the absence of a further transfer from the Fed—which

Defendant Vought has already disavowed for fiscal year 2025, see Defs.’ Ex. 1B—the

CFPB will run into a deficit. The fact that the CFPB may not eliminate its budget overnight

does not mean that the decision to do so is not final, or that the legal consequences that



8
 See, e.g., Consent Order ¶ 80, CFPB v. Goldman Sachs Bank USA, No. 2024-CFPB-0011, 2024 WL
4925345 (CFPB Oct. 23, 2024) (providing that “if funds remain after the [payment to consumers of]
additional redress is completed, the Bureau will deposit any remaining funds in the U.S. Treasury”).


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flow from that decision are any less serious.

            B. Plaintiffs’ claims are ripe.

        Precisely because Defendant Vought has already made a decision to defund the

CFPB, Plaintiffs’ claims are ripe. Those claims are not premised on the idea (as Defendants

would have it) that the CFPB “intends” to make a decision in the future, Opp’n at 11, but

on the reality that it has already made that decision. The decision is not speculative, it is

complete—and nothing in the declarations submitted by Defendants denies that it has

occurred. This is not a case where those mechanisms’ “future impact ‘remains wholly

speculative.’” Doe v. Va. Dep’t of State Police, 713 F.3d 745, 758 (4th Cir. 2013) (quoting

Gasner v. Bd. of Supervisors, 103 F.3d 351, 361 (4th Cir. 1996)).

        Plaintiffs need not wait for Defendant Vought to carry out his decision—with its

irrevocable consequences—to seek review. Indeed, Defendants do not dispute that claims

challenging a decision to defund the CFPB are fit for review once that decision is made, or

contend that courts must wait until they have actually been effectuated. Ripeness doctrine

requires only that Plaintiffs face “impending” injury; it does not require “parties to operate

beneath the sword of Damocles until the threatened harm actually befalls them.” Guilford

Coll. v. McAleenan, 389 F. Supp. 3d 377, 390 (M.D.N.C. 2019) (quoting Iowa League of

Cities v. EPA, 711 F.3d 844, 867 (8th Cir. 2013)). Rather, “ripeness can rest on anticipated

future injury.” Wild Va. v. Council on Env’t Quality, 56 F.4th 281, 295 (4th Cir. 2022).

Unable to grapple with that doctrine head-on, Defendants rely on authority suggesting that

the theoretical loss of a new future benefit, or the adoption of a regulation that limits future

eligibility for benefits, are inadequate to establish hardship for ripeness analysis. See Opp’n

at 11–12 (citing Wyoming v. Zinke, 871 F.3d 1133 (10th Cir. 2017) and Reno v. Cath. Soc.




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Servs., Inc., 509 U.S. 43 (1993)). But here, Plaintiffs complain of something different: the

loss of statutorily guaranteed protections and services. 9

             C. There is no other barrier to this Court’s review under the APA.

         Defendants likewise claim that APA review is unavailable because the relevant

actions are “committed to agency discretion by law,” 5 U.S.C. § 701(a)(2), and because

there exist alternative “adequate remed[ies] in a court,” id. § 704. Defendants are wrong.

         Courts apply “a strong presumption favoring judicial review of administrative

action.” Mach Mining, LLC v. EEOC, 575 U.S. 480, 486 (2015) (cleaned up). The

exception for actions committed to agency discretion “is a ‘very narrow one,’ reserved for

‘those rare instances where statutes are drawn in such broad terms that in a given case there

is no law to apply.’” Inova Alexandria Hosp. v. Shalala, 244 F.3d 342, 346 (4th Cir. 2001)

(quoting Citizens to Pres. Overton Park, Inc. v. Volpe, 401 U.S. 402, 410 (1971)).

         That’s not this case. The relevant statute, 12 U.S.C. § 5497(a)(1), gives the Director

significant but not unlimited discretion to determine the CFPB’s funding. He may request

such an amount—up to a cap—as is “reasonably necessary to carry out the authorities of

the [CFPB] under Federal consumer financial law, taking into account such other sums

made available to the [CFPB] from the preceding year (or quarter of such year).” The term

“Federal consumer financial law” means the laws the CFPB is charged with administering,

including the Consumer Financial Protection Act (CFPA) itself. Id. § 5481(14). Those laws

in turn set out specific authorities and duties of the CFPB. See, e.g., Compl. ¶¶ 9–18.




9
  Defendants state that the CFPB “is maintaining” its consumer complaint database, website, and telephone
number, and “is providing” resources to compile information about applications for mortgage loans. Gueye
Decl. ¶¶ 19–20. This is cold comfort to Plaintiffs, who do not dispute that the CFPB presently provides
these services, but brought this suit to ensure that it continues to do so (and after one of these services—the
consumer complaint phone line—was at least temporarily shut down, Moore Decl. ¶¶ 3–6).


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         The Court thus has clear “law to apply” here. Inova Hosp., 244 F.3d at 346. While

the Director has wide latitude to determine the agency’s funding needs, the statute plainly

does not allow him to unilaterally starve it of funds to the point it can no longer “carry out

[its] authorities . . . under Federal consumer financial law.” 12 U.S.C. § 5497(a)(1). 10 This

case is thus like Mach Mining, LLC v. EEOC, in which the Supreme Court concluded that

a statute giving broad discretion to an agency still contained clear directives for courts to

police. 575 U.S. at 488 (“Yes, the statute provides the EEOC with wide latitude . . . [b]ut

no, Congress has not left everything to the Commission.”).

         This case is entirely unlike Lincoln v. Vigil, which held unreviewable an agency’s

allocation of a lump-sum appropriation toward various legitimate uses. 508 U.S. 182

(1993). Plaintiffs do not challenge a decision by the CFPB about what to spend money on;

they challenge action that will, by design, leave the CFPB with insufficient funds to carry

out its required functions, in violation of clear statutory directives, see, e.g., Compl. ¶¶ 9–

18; infra Part III. As explained, supra at 4, resolving that claim does not mean exposing

the CFPB to second-guessing whenever it draws funds in the ordinary course.

         Defendants’ assertion that Plaintiffs have “other adequate remed[ies]” is even

weaker. They say (at 16–18) that Maryland Economic Action and the city of Baltimore can

simply sue all the financial scammers themselves. This “doubtful and limited relief” offers

cold comfort and “is not an adequate substitute for review.” Bowen v. Massachusetts, 487

U.S. 879 (1988). Reliance on alternate enforcement “is plainly not the kind of special and

adequate review procedure that will oust a district court of its normal jurisdiction under the


10
  Indeed, the CFPB has previously taken the position in litigation that the Director could request a transfer
of $0 “only if he determined that it would reasonably allow the Bureau to carry out its duties—presumably
because the Bureau had significant cash on hand already.” Appellee Br., CFPB v. Law Offices of Crystal
Moroney, P.C., 2021 WL 2315225, *27 (2d Cir. June 4, 2021) (internal citation omitted).


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APA.” Id. at 904 (cleaned up). Further, Defendants’ reliance on this supposed alternate

remedy ignores, among other things, the vast gulf in resources and legal authorities

between Plaintiffs and the CFPB. It also misunderstands the vital role the CFPB plays—

which is not limited to directly enforcing consumer laws—and the irreparable harm that

would be caused if the agency were deprived of the funds necessary to carry out that role.

As detailed in the declarations, for example, the CFPB provides important direct services

in the form of its consumer complaint hotline and makes available numerous irreplaceable

informational resources such as the public databases of consumer complaints and mortgage

data. White Decl. ¶¶ 7–12; Leach Decl. ¶¶ 13–15. Plaintiffs and many others rely on these

services to carry out core aspects of their mission, and they cannot be replaced by simply

suing companies that violate state and municipal laws.

           D. Plaintiffs are likely to show that the challenged action is unlawful.

       Defendants also fail to refute Plaintiffs’ showing that they are likely to succeed on

the substance of their claims. Defendants’ argument on statutory authority is largely the

same as their argument that funding decisions are committed to agency discretion, Opp’n

at 19, and falls flat for the same reason. The Director has discretion with respect to the

CFPB’s funding needs, but that discretion has outer limits that courts are fully capable of

policing. When Defendants exceed those limits, they exceed their authority under the

statute. Defendants further err in focusing solely on the Vought letter. See id. To be clear:

Plaintiffs do not allege that it is unlawful for the Director to request $0 when the agency

maintains sufficient reserves; they allege—consistent with CFPB’s own past position, see

supra at 10—that it is unlawful to transfer away reserves while drawing $0 in new funds,

where this transfer leaves CFPB unable to meet its obligations.




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        Defendants likewise misstate the nature of the action being challenged in arguing

that they have acted rationally. They defend the reasonableness of simply moving an

unidentified portion of the CFPB’s reserves “to an operating balance within the Bureau

fund.” Opp’n at 22. But Plaintiffs neither allege nor challenge the CFPB moving money

internally between accounts under its control.11 Plaintiffs challenge the transfer of financial

reserves away from the CFPB—whether to the Fed, Treasury, or wherever they will be

unavailable to the CFPB—thus carrying out the President’s stated goal of “get[ting] rid of”

the agency, Compl. ¶ 38, and effectuating Acting Director Vought’s view that “no”

reserves are “necessary to fulfill the Bureau’s mandate,” Defs.’ Ex. 1B. Defendants do not

even try to defend the rationality of that action, which is arbitrary and capricious on its

face, including because it would leave the CFPB unable to carry out its required functions.

 II.    Plaintiffs face irreparable harm absent relief.

        As set forth in Plaintiffs’ opening brief, they stand to suffer irreparable harm

because the CFPB’s defunding would “make it more difficult for [them] to accomplish

their primary mission,” such as direct-services work for people suffering from scams or

abusive financial practice. League of Women Voters v. Newby, 838 F.3d 1, 9 (D.C. Cir.

2016)12; White Decl. ¶¶ 3–8, 12–14; Leach Decl. ¶¶ 10–12, 14–17. Having to “divert

resources in the absence of [preliminary] relief is enough to satisfy their burden of showing

a likelihood of suffering irreparable harm.” Action NC v. Strach, 216 F. Supp. 3d 597, 643

(M.D.N.C. 2016). For the reasons explained above, see supra at 5, 11, these injuries are




11
   Defendants’ suggestion that “reducing the excess in the Reserve Fund means that the Bureau’s operating
balance increases,” Gueye Decl. ¶ 15, thus entirely misses the point.
12
   Defendants suggest (at 24 n.6) that this Court cannot understand Newby to mean what it plainly says. But
Defendants offer no rationale; much as they may prefer to argue that Plaintiffs conflate the analysis for
standing and irreparable harm, Newby quite clearly addresses the latter. 838 F.3d at 7–9.


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not speculative, but are certain to occur should CFPB unilaterally defund itself.

       Unable to dispute this logic, the government instead attempts (at 23–24) to

recharacterize the irreparable injury analysis as primarily economic in character. This is

incorrect. Another court in this district, for example, has previously found that Baltimore

suffered an irreparable injury where an agency action would (among other things) “drive

patients to Baltimore City health systems, placing greater demands on their capacity and

ability to provide service.” Mayor and City Council of Baltimore v. Azar, 392 F. Supp. 3d

602, 618 (D. Md. 2019). So too here, where CFPB ceasing to provide essential services (a

direct and obvious consequence of its defunding) would require Baltimore “to divert

resources from other essential functions just to provide the same level of protection that

residents enjoy now.” Leach Decl. ¶¶ 15, 17; see also White Decl. ¶¶ 10, 12–15 (noting,

among other irreparable harms, that “CFPB provides lots of resources that simply aren’t

available anywhere else” and that “[t]here is no replacement”).

       Defendants mischaracterize Plaintiffs’ injury as mere “expenses associated with

addressing a dispute.” Opp’n at 24. This, too, stems from a crabbed reading of the

declarations Plaintiffs provided. See White Decl. ¶¶ 4–6, 11–14; Leach Decl. ¶¶ 14, 16.

And the case on which Defendants rely is wholly inapposite: FTC v. Standard Oil merely

held that the respondent in an FTC administrative proceeding could not seek an order

effectively enjoining that proceeding based solely on the ordinary costs of litigating it. 449

U.S. 232, 234–35 (1980). This ruling has no relevance to analyzing the effect of CFPB’s

closure on a direct services organization or city government services.

       Finally, Defendants are wrong (at 25) about HIAS v. Trump, a case that

unequivocally supports finding irreparable harm here. That court found irreparable harm




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where agency action “requir[ed] diversion of resources away from the [plaintiffs’] core

missions.” 985 F.3d 309, 326 (4th Cir. 2021). So too, here. Defendants focus on the court’s

alternative finding that the plaintiffs’ local affiliates, in some jurisdictions, would likely

have to cease their work. But that is not dissimilar to the situation here, where some of

Plaintiffs’ programs would suffer significantly as a result of the government’s action, even

if Plaintiffs themselves did not cease to exist. See White Decl. ¶¶ 12–14; Leach Decl. ¶¶

15–17. And HIAS hardly stands for the proposition that a threat to organizational mission

must be existential to be irreparable: It notes that an erosion of community connections is

likewise “significant and irreparable,” 985 F.3d at 326, and the same would be true here.

III.   The equities support injunctive relief.

       The public interest weighs strongly in favor of ensuring that the CFPB is equipped

to carry out its mission. See Br. at 14. In arguing otherwise, Defendants ignore the

significant value the CFPB has returned to American consumers, see id., and largely rehash

(at 25) their merits arguments. They are incorrect. And the government has no valid interest

in misapplying the law. See Roe v. Dep’t of Def., 947 F.3d 207, 230–31 (4th Cir. 2020).

       Failing that, Defendants complain that injunctive relief would irreparably harm the

government, because it could not “‘effectuat[e the] statute[] enacted by representatives of

its people’”—to wit, Dodd-Frank’s requirement that Defendant Vought determine what

funds are necessary to carry out the CFPB’s authorities. Opp’n at 25 (quoting Maryland v.

King, 567 U.S. 1301, 1303 (2012) (Roberts, C.J., in chambers)). That, too, misapprehends

the statute at hand. See supra at 9–10. And regardless, Defendants’ protestations fall flat in

light of their scant concern for “effectuating” other provisions of Dodd-Frank “enacted by

representatives of [the] people,” such as those creating the CFPB and directing it to perform




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functions critical to the public interest. See 12 U.S.C. § 5493; see also Moore Decl. (noting

temporary inaccessibility of statutorily required complaint line). There can be no “public

interest in ensuring that federal funds are managed judiciously and efficiently,” Opp’n at

26, where that really means unilaterally eliminating a congressionally mandated agency.

IV.     The requested relief satisfies Rule 65.

        Finally, Defendants feign confusion about the terms of the injunction Plaintiffs

seek, arguing (at 26) that the proposed order is insufficiently specific or detailed under Rule

65(d)(2)(B)–(C). They conspicuously neglect, however, to provide any example where a

court has found analogous language to fail that test, and, regardless, Rule 65(d) does not

contemplate denying injunctive relief because a proposed order lacks adequate specificity

or detail. There is no confusion here, as Plaintiffs clearly mean that Defendants cannot

transfer money from the CFPB’s unobligated funds outside of its control, other than to

satisfy the ordinary operating obligations of the CFPB. In any event, because Plaintiffs’

original proposed order related to their motion for a temporary restraining order, which has

now been converted into one for preliminary injunction, Plaintiffs have attached a new

proposed order granting the motion now before this Court. 13

                                          CONCLUSION

        The Court should enter a preliminary injunction prohibiting Defendants from

transferring, relinquishing control or ownership of, or otherwise depleting CFPB’s balance

of unobligated funds, other than to satisfy the ordinary operating obligations of the CFPB.




13
  This new proposed order largely tracks language that Defendants themselves jointly proposed to this
Court mere weeks ago, resolving any potential arguments about its clarity. Further, because Defendants do
not claim a bond is needed and will incur no damages from being enjoined from unlawfully defunding the
CFPB, the Court should waive the security requirement under Rule 65(c).


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Dated: February 25, 2025             Respectfully submitted,

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                             CERTIFICATE OF SERVICE

       I hereby certify that on February 25, 2025, I caused the foregoing and attached

proposed order to be filed electronically through the Court’s CM/ECF system, which

provides notice to all counsel of record.



February 25, 2025                           /s/ Mark B. Samburg
                                            Mark B. Samburg
